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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

IN RE:                                                   )       CHAPTER 13
BERNARD ANTONIO MILLARD, SR.,                            )
                                                                 CASE NO.: 18-53552-PMB
                                                         )
                                                         )
    DEBTOR.                                              )
                   CHAPTER 13 TRUSTEE’S SUPPLEMENTAL OBJECTION TO
                        CONFIRMATION AND MOTION TO DISMISS

         COMES NOW MELISSA J. DAVEY, Chapter 13 Trustee, and objects to confirmation of the plan
and files this Motion to Dismiss under 11 U.S.C. Section 1307(c), for cause, including the following reasons:

        1. Debtor has failed to file a Certificate of Service indicating that the Pre-Confirmation Modified
           Plan and/or Modification Statement was served on all entities listed on the Mailing Matrix, in
           violation of F.R.B.P. 3015, 2002 and NDGA Bankruptcy Court General Order 21-2017,
           Section 4.2.
        2. The Amended Chapter 13 Plan is ineffective and cannot be administered by the Chapter 13
           Trustee because it fails to correctly identify the amended Plan sections as required by NDGA
           Bankruptcy Court General Order 21-2017.
        WHEREFORE, the Trustee moves the Court to inquire into the above objections at the separately
scheduled and noticed confirmation hearing, deny confirmation of the Chapter 13 Plan, dismiss the case, and for
such other and further relief that this Court deems just and proper.

March 14, 2018

                                                                /s/Jason L. Rogers
                                                               Jason L. Rogers
                                                               Attorney for the Chapter 13 Trustee
                                                               GA Bar No. 142575
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18-53552-PMB
                                          CERTIFICATE OF SERVICE

This is to certify that I have this day served:



            DEBTOR(S):
            BERNARD ANTONIO MILLARD, SR.
            2693 HOMELAND DRIVE
            DORAVILLE, GA 30360
            DEBTOR(S) ATTORNEY:
            SLIPAKOFF & SLOMKA, PC
            OVERLOOK III, SUITE 1700
            2859 PACES FERRY RD, SE
            ATLANTA, GA 30339

with a copy of the Chapter 13 Trustee's Supplemental Objection to Confirmation and Motion to Dismiss by
depositing same in the United States Mail in a properly addressed envelope with adequate postage thereon.


March 14, 2018



                                                              Prepared and Presented by:


                                                              /s/Jason L. Rogers
                                                              Jason L. Rogers
                                                              Attorney for the Chapter 13 Trustee
                                                              GA Bar No. 142575
                                                              260 Peachtree Street, NW, Suite 200
                                                              Atlanta, GA 30303
                                                              (678) 510-1444 Phone
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